          Case 4:19-cv-00110 Document 23 Filed on 04/26/19 in TXSD Page 1 of 5



                             UNITED STATES DISCTRICT COURT
                              SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

    GILBERT SANCHEZ                               §
                                                  §
    VS.                                           §       CIVIL ACTION NO.: 4:19-CV-00110
                                                  §
    ENTERPRISE OFFSHORE DRILLING                  §
    LLC AND SMART FABRICATORS OF                  §
    TEXAS, LLC                                    §

                 DEFENDANT SMART FABRICATORS OF TEXAS, LLC’S
                      MOTION FOR SUMMARY JUDGMENT

                                       INTRODUCTION

           Smart Fabricators of Texas, LLC (“SmartFab”) moves for summary judgment under Rule

56, Federal Rules of Civil Procedure, on the grounds that Plaintiff sued his employer, SmartFab,

under the Jones Act, and because the Court has held that Plaintiff was not a Jones Act seaman,

he has no cause of action under the Jones Act. Instead, his exclusive remedy against SmartFab is

a claim under the Longshore and Harbor Workers’ Compensation Act. Accordingly, Plaintiff’s

Complaint should be dismissed with prejudice.

                            NATURE AND STAGE OF THE CASE

           This is a personal injury case in which Plaintiff Sanchez purported to be a Jones Act

Seaman. Defendants jointly removed under the OCSLA, averring that the Jones Act claim was

fraudulently asserted to defeat removal. Sanchez moved to remand the case based on his Jones

Act claim, and SmartFab opposed the remand. The Court heard argument on March 15, 2019,

and denied the motion to remand on March 25, 2019, finding that Sanchez “was not a seaman

under the Jones Act,” and that “the Jones Act does not apply.” 1


1
    Court Doc. # 19 at pp. 2, 11.
     Case 4:19-cv-00110 Document 23 Filed on 04/26/19 in TXSD Page 2 of 5



                      ISSUE TO BE RULED ON BY THE COURT

       Whether Plaintiff’s Jones Act claim should be dismissed with prejudice because he is not

a Jones Act seaman?

                                  LAW AND ARGUMENT

1.     The Court found that Plaintiff is not a Jones Act seaman and therefore the only
       claim he asserted against SmartFab, which was under the Jones Act, should be
       dismissed, leaving Plaintiff with a claim under the LHWCA.

       In his Petition, Plaintiff alleged he was an employee of SmartFab, and his only claim

against SmartFab was under the Jones Act.2

       The Court reviewed all evidence submitted by Plaintiff and SmartFab on Plaintiff’s

Motion to Remand in a summary-judgment-type inquiry and concluded that the “record evidence

does not show that the circumstances or the nature of Sanchez’s duties exposed him to the perils

of the sea in a manner associated with seaman status,” that “Sanchez has not alleged facts or

submitted or identified evidence showing that he had a substantial connection with a vessel in

navigation as a seaman,” and that accordingly, “the Jones Act does not apply.”3

       Because he is not a Jones Act seaman, Sanchez’s only claim against his employer,

SmartFab, is under the Longshore and Harbor Workers’ Compensation Act (“LHWCA”). See

33 U.S.C. § 905(a), which provides in pertinent part as follows:

       § 905. Exclusiveness of liability

       (a) The liability of an employer prescribed in section 4 [33 USC § 904] shall be
       exclusive and in place of all other liability of such employer to the employee, his
       legal representative, husband or wife, parents, dependents, next of kin, and anyone
       otherwise entitled to recover damages from such employer at law or in admiralty
       on account of such injury or death, except that if an employer fails to secure

2
 See Plaintiff’s Original Petition, Document 1-2 at p. 2, ¶¶ IV, VI, and VIII.
3
 Court Doc. # 19 at pp. 2, 10, 11. SmartFab incorporates by reference its Memorandum in Opposition
to Plaintiff’s Motion to Remand (Court Doc. # 14).
                                                2
      Case 4:19-cv-00110 Document 23 Filed on 04/26/19 in TXSD Page 3 of 5



       payment of compensation as required by this Act, an injured employee, or his legal
       representative in case death results from the injury, may elect to claim
       compensation under the Act, or to maintain an action at law or in admiralty for
       damages on account of such injury or death.

       Under the LHWCA, an injured worker is barred from bringing a civil action against his

or her employer, if, as here, the employer secured LHWCA benefits for the worker. Mendez v.

Anadarko Petroleum Corp., 2010 WL 5343181 *6 (S.D. Tex. 2010)(granting summary judgment

dismissing plaintiff’s Jones Act claim against his employer where seaman status had been

disproved). Stated differently, maritime workers such as Sanchez are limited to LHWCA remedies

if no genuine issue of fact exists as to whether the worker was a seaman under the Jones Act. Sw.

Marine, Inc. v. Gizoni, 502 U.S. 81, 89, 112 S.Ct. 486 (1991); Fontenot v. AWI, Inc., 923 F.2d 1127,

1128 n. 3, 1132 (5th Cir. 1991)(affirming dismissal of plaintiff’s Jones Act claim against his

employer on summary judgment based on LHWCA’s exclusive remedy provision where plaintiff

failed to establish seaman status).

       SmartFab did “secure payment of compensation as required” by the LHWCA and was in

fact paying LHWCA benefits to Sanchez until he changed tack and asserted he was a Jones Act

seaman. See Declaration of SmartFab’s office manager, Kellie Brown, attached and incorporated

as Exhibit A, confirming the existence of LHWCA coverage for Plaintiff, and authenticating

attached records of payments to Plaintiff under the LHWCA and termination of those benefits

based on, among other things, Sanchez’ assertion of seaman status. Accordingly, there is no

genuine issue as to the following material facts: (1) Sanchez is not a seaman; and (2) SmartFab

secured LHWCA coverage for him. Accordingly, Sanchez’s Jones Act claims against Smart Fab

fail as a matter of law and his complaint against SmartFab should be dismissed on summary

judgment under Rule 56.

                                                 3
      Case 4:19-cv-00110 Document 23 Filed on 04/26/19 in TXSD Page 4 of 5



                         CONCLUSION AND RELIEF SOUGHT

       Plaintiff’s seaman status claim did not survive the summary-judgment-like test, and the

Court found he was not a seaman. The evidence is uncontradicted that SmartFab did “secure

payment of compensation as required” by the LHWCA and was in fact paying LHWCA benefits

to Sanchez until he changed tack and asserted he was a Jones Act seaman. Therefore, as a matter

of law, his Jones Act claim against SmartFab should be dismissed with prejudice, leaving Plaintiff

to his exclusive remedy under the LHWCA. SmartFab further requests all other relief to which

it may be entitled at law, in admiralty, and/or in equity.

                                              Respectfully Submitted,

                                              /s/ M. Matt Jett
                                              M. Matt Jett
                                              Attorney in Charge
                                              TBN: 24068684/Fed ID 1091711
                                              2800 Post Oak Blvd., Suite 6400
                                              Houston, TX 77056
                                              Telephone: 713.871.9000
                                              Facsimile: 713.871.8962
                                              mjett@hallmaineslugrin.com

                                              ATTORNEYS FOR DEFENDANT
                                              SMART FABRICATORS OF TEXAS,
                                              LLC

OF COUNSEL:

HALL MAINES LUGRIN, P.C.
Evan T. Caffrey
TBN: 03588650/Fed ID 13178
2800 Post Oak Blvd., Suite 6400
Houston, TX 77056
Telephone: 713.871.9000
Facsimile: 713.871.8962
ecaffrey@hallmaineslugrin.com

                                                  4
      Case 4:19-cv-00110 Document 23 Filed on 04/26/19 in TXSD Page 5 of 5




                                 CERTIFICATE OF SERVICE

        I hereby certify that on April 26, 2019, a true and correct copy of the above and foregoing
document was served by electronic filing and service via CM/ECF on the following at the listed
e-mail address:

 Anthony G. Buzbee
 tbuzbee@txattorneys.com
 Andrew Dao
 adao@txattorneys.com
 Cornelia Brandfield-Harvey
 cbrandfieldharvey@txattorneys.com
 The Buzbee Law Firm
 JPMorgan Chase Tower
 600 Travis Street, Suite 7300
 Houston, Texas 77002
 Tel: (713) 223-5393
 Fax: (713) 223-5909




                                             /s/ Evan T. Caffrey
                                             M. Matt Jett / Evan T. Caffrey




                                                5
